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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :
                                            :       Case No.: 21-CR-158-RC
KYLE FITZSIMONS,                            :
                                            :
              Defendant.                    :


                                NOTICE OF APPEARANCE

       The United States of America by and through its attorney, the Acting United States

Attorney for the District of Columbia, informs the Court that Assistant United States Attorney

Robert Juman hereby enters his appearance in the above referenced matter.



                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            DC Bar No. 415793

                                     By:    /s/ Robert Juman______________________
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                                CERTIFICATE OF SERVICE

       On this 25th day of October 2021, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                     /s/ Robert Juman _________________
                                                     ROBERT JUMAN
                                                     Assistant United States Attorney
